                 Case 9:19-bk-05580-FMD                  Doc 12          Filed 06/19/19   Page 1 of 2
[Dodefmao] [District Order Deficient Motion, Application or Objection]




                                            ORDERED.
Dated: June 19, 2019




                                    UNITED STATES BANKRUPTCY COURT
                                       MIDDLE DISTRICT OF FLORIDA
                                            FT. MYERS DIVISION
                                            www.flmb.uscourts.gov



In re:                                                                          Case No.
                                                                                9:19−bk−05580−FMD
                                                                                Chapter 7
Louis Alan Maier
aka Louis A Maier
aka Louis Maier
aka Louie Maier



________Debtor*________/



                     ORDER ABATING MOTION FOR RELIEF OF CO DEBTOR STAY

    THIS CASE came on for consideration, without hearing, of the Motion for Relief from Co−Debtor Stay by
QBE Insurance Corporation , Doc. # 10 . After review, the Court determines that the motion , is deficient as
follows:

         Service upon the individual respondent at the individual's dwelling house or usual place of
         abode or to the place where the individual regularly conducts a business or profession is not
         indicated. Fed. R. Bankr. P. 7004(b)(1).

         Service upon all creditors on the matrix using a current mailing matrix obtained from the
         Clerk of Court is not indicated or the current mailing matrix obtained from the Clerk of Court
         was not attached. Fed. R. Bankr. P. 2002(a), Fed. R. Bankr. P. 3015(g) and Local Rule
         9013−1(e).




   Accordingly it is

   ORDERED:

   Consideration of the motion is abated until the deficiency is corrected.
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The Clerk's Office is directed to serve a copy of this order on interested parties.
*All references to "Debtor" shall include and refer to both of the debtors in a case filed jointly by two
individuals.
